                                                        Case 4:05-cv-00037-YGR         Document 979-1   Filed 12/09/14   Page 1 of 2



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                                                   19                              UNITED STATES DISTRICT COURT
                                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                                   20                                   OAKLAND DIVISION
                                                   21
                                                        THE APPLE iPOD iTUNES ANTI-                  Lead Case No. C 05-00037 YGR
                                                   22   TRUST LITIGATION                             [CLASS ACTION]

                                                   23   ___________________________________          [PROPOSED] ORDER DENYING
                                                                                                     PROPOSED MEDIA INTERVENORS’
                                                   24   This Document Relates To:
                                                                                                     MOTION FOR ACCESS TO THE VIDEO
                                                        ALL ACTIONS                                  DEPOSITION OF STEVE JOBS
                                                   25

                                                   26                                                Date:      December 9, 2014
                                                                                                     Time:      4:00 p.m.
                                                   27                                                Courtroom: 1, 4th Floor
                                                                                                     Judge:     Hon. Yvonne Gonzalez Rogers
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                                                        [PROPOSED] ORDER DENYING MOTION FOR ACCESS                           No. C 05-00037 YGR
                                                        Case 4:05-cv-00037-YGR        Document 979-1       Filed 12/09/14     Page 2 of 2



                                                    1          This matter came before the Court on nonparty Bloomberg L.P., The Associated Press,

                                                    2   and Cable News Network, Inc.’s Motion for leave to intervene and access to the video deposition

                                                    3   of Steve Jobs. (Dkt. 977). Having considered the parties’ submissions and argument, and for

                                                    4   good cause appearing,

                                                    5          IT IS HEREBY ORDERED that the motion for access to the video deposition of Steve

                                                    6   Jobs displayed during trial of this matter on December 5, 2014 is DENIED.

                                                    7

                                                    8          IT IS SO ORDERED.

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                                                   10   Dated: ________________, 2014
                                                                                                              Hon. Yvonne Gonzalez Rogers
                                   F L E X N E R




                                                   11                                                         U.S. DISTRICT JUDGE
                          C A L I F O R N I A




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                               &




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             S C H I L L E R




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        O A K L A N D ,




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B O I E S ,




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                                                        [PROPOSED] ORDER DENYING MOTION FOR ACCESS                                  No. C 05-00037 YGR
